Case 2:04-cr-00057-DBH Document 232 Filed 02/16/12 Page 1 of 1           PageID #: 696




                      UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE



UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )            NO. 2:04-CR-57-DBH-01
                                      )
LEROY MOSLEY, JR.                     )
                                      )
                   DEFENDANT          )



          ORDER ENLARGING TIME TO FILE NOTICE OF APPEAL


      The Court of Appeals for the First Circuit entered an Order of Court on

February 15, 2012, requesting “a ruling whether the district court will enlarge

the time for filing an appeal and will consider this notice of appeal timely filed.”

(Docket Item 231). Under the facts and circumstances presented in that Order,

I do find a showing of excusable neglect or good cause and enlarge the time for

filing the notice of appeal and I do consider the appeal timely filed.

      SO ORDERED.

      DATED THIS 16TH DAY OF FEBRUARY, 2012

                                             /s/D. Brock Hornby
                                             D. BROCK HORNBY
                                             UNITED STATES DISTRICT JUDGE
